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FILED IN OPEN COURT
JACKSONVILLE, FLORIDA

G- LL: 1693
UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA U.S. DISTRICT COURT
JACKSONVILLE DIVISION MIDDLE DISTRICT OF FLORIDA
UNITED STATES OF AMERICA
V. CASE NO. 3:23-cr-122-MMH-MCR

NEAL BRIJ SIDHWANEY

STIPULATION REGARDING COMPETENCY OF
DEFENDANT NEAL BRIJ SIDHWANEY

The United States of America, through the undersigned Assistant United
States Attorney; the defendant, Neal Brij Sidhwaney; and counsel for the defendant,
Kathryn Sheldon, Esq., stipulate and agree as follows:

1. That the attached forensic evaluation of Dr. Alan J. Harris, an expert in
the field of psychology, shall be received as evidence by the Court on the issue of the
defendant's competency in this case in lieu of testimony; and

2. That neither the United States nor the defendant will present any

evidence other than the attached report on the issue of the defendant's competency
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to stand trial in this case, and the Court may enter any such order as it deems

appropriate, without need for further hearing.

Respectfully submitted,

ROGER B. HANDBERG
United States Attorney

KIRWINN MIKE

Assistant United States Attorney
Florida Bar No. 127588

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NEAL BRU SIDHWANEY
Defendant

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Kathryn Sheldon, Esq.
Attorney for Defendant

